 1

 2   Susan Szanto 949-887-2369
 3
     11 Shore Pine                                                                  18 2019
     Newport Beach CA 92657
 4

 5                     United States Bankruptcy Court
 6                            in and for the District of OREGON
                                                  th
 7                                  1001 SW 5 Av., Portland OR 97204

 8

 9
                                                          # 16 -bk-33185 pcm7
10    In Re Peter Szanto, Debtor
11

12       -------------------                                     Notice of Appeal
13                                                                     and
14                                                         Designation of Record
15                                                                 on Appeal
16

17

18

19         To the Court and the creditors, please take notice, CREDITOR
20   Susan Szanto, herewith and hereby perfects appeal from denial of her
21   claims in this Bankruptcy [EXHIBIT A].
22

23         Said Appeal is directed to the Bankruptcy Appellate Panel of the 9th
24   Circuit Court of Appeals.
25
     16- 33185         Notice of Appeal - pg. 1
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                         Case 16-33185-pcm7            Doc 653    Filed 01/18/19
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 2
           Creditor herewith and hereby designates each and every document
 3
     in the core Bankruptcy 16-bk-33185 as well as each and every document
 4   in adversarial proceedings 16-3114, 16-3141, 18-3042.
 5

 6        Creditor herewith and hereby designates the transcripts of each and
 7   every hearing in all of the above actions.
 8

 9        The bases for this appeal are these:
10

11         1) The Trial Court has abused its discretion by failing to consider,

12
                creditor's papers, evidence and testimony regarding her claims.

13
           2) The Trial Court has abused its discretion by failing to postpone
14
                the evidentiary hearing regarding creditor's claim even though the
15
                Trial Court was timely informed that creditor was hospitalized
16
                with acute liver disease.
17

18
           3) The Trial Court has abused its discretion by disabling its court­
19
                room phone systems at the time of the evidentiary hearing
20
                regarding creditor's claim -- such that creditor, calling from her
21
                hospital room, and severely disabled (and suffering from toxic
22              shock from an improperly inserted catheter), was intentionally
23              deprived by the Trial Court from presenting her positions.
24

25                 January 18, 201
     16-33185          Notice of Appeal -
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                        Case 16-33185-pcm7    Doc 653   Filed 01/18/19
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 2
                         F SERVICE
 3

 4               My name is Maquisha Reynolds, I am over 21 years of age and not a

 5
         party to the with action. My business address is PO Box 14894, Irvine CA
         92623. On the date indicated below, I personally served the within:
 6

 7
           NOTICE
 8

 9     a. Internal Revenue Service, PO Box 7346, Philadelphia PA 19101
       b. First Service Residential, 15241 Laguna Canyon Rd, Irvine CA 92618
10     c. JPMorgan Chase Bank, represented by:
11
                                      Cara Richter c/o Shapiro & Sutherland
         1499 SE Tech Center Place, Suite 255, Vancouver, WA 98683
12
        d. Bank of America, c/o McCarthy & Holthus
13            920 SW 3 rd Av., Portland OR 97204
        e. Oregon Department of Revenue, 955 Center St., Salem OR 97301
14      f. Chapter 7 Trustee, Stephen P Arnot, POBox 1963, Lake Oswego OR 97035
15
                     by e-mail to arnotlaw@sbcglobal.net
        g. Peter Szanto, 11 Shore Pine, Newport Beach CA 92657
16

17
           by mailing copies to the above parties             via 1st class mail, postage
     prepaid, or by e-mail.
18
          I declare under penalty of perjury under the laws of the United States
19   that the foregoing is true and correct. Signed at Irvine CA.

20

21                    Dated Jan 19-2019           /4-ci-£/'
                                                   ;)
                                                   V
                                                              £;'. ,r,&;'. ·
                                                              t                Maquisha Reynolds
                                                              /
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     16- 33185         Notice of Appeal - pg. 3
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                         Case 16-33185-pcm7             Doc 653   Filed 01/18/19
                                                                            DISTRICT OF OREGON
                                                                                 FILED
                                                                               January 07, 2019
                                                                         Clerk, U.S. Bankruptcy Court



           Below is an order of the court.
 1
 2
 3
 4
 5
 6
                                                                    U.S. Bankruptcy Judge
 7
 8

 9                                 UNITED STATES BANKRUPTCY COURT
10                                    FOR THE DISTRICT OF OREGON
11   In Re:
                                                       ) Bankruptcy Case No.
12   PETER SZANTO,                                     ) 16-33185-pcm7
                                                       )
13                                                     ) ORDER DISALLOWING CLAIM
                                                       ) NUMBER 14
14
15
     ___________________            Debtor.            )
                                                       )


16         For the reasons set forth in the Court's letter dated January 7,
17   2019, Doc. 644,
18         IT IS HEREBY ORDERED that Claim Number 14 is disallowed.
19                                               ###
20   cc:   Susan Szanto
           United States Trustee (via ECF)
21         Chapter 7 Trustee (via ECF)
22
23
24
25
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     Page 1 -     ORDER DISALLOWING CLAIM NUMBER 14
                         Case 16-33185-pcm7 Doc 645 Filed 01/07/19

                           Case 16-33185-pcm7   Doc 653    Filed 01/18/19
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  IRVINE. CA 92623                                                  Bill SENDER
  UNITED STATES US
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      US BANKRUPTCY COURT PORTLAND
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      ROOM 700 1050 SW 6TH AV
      PORTLAND OR 97204
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Case 16-33185-pcm7                          Doc 653                 Filed 01/18/19
